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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
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   In re
                                                                     Chapter 13

   DAVID FONSECA,                                                    Case No. 16-23135 (RDD)

            Debtor.

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                   ORDER PURSUANT TO 11 U.S.C. § 362(d)
        MODIFYING THE AUTOMATIC STAY IMPOSED BY 11 U.S.C. § 362(a)

                     Upon the motion, dated February 7, 2018 (the “Motion”), of

   PHH Mortgage Corporation as authorized agent for HSBC Bank USA, N.A. (with any

   subsequent successor or assign, the “Creditor”), for an order, pursuant to section 362(d)

   of title 11 of the United States Code (the “Bankruptcy Code”), vacating the automatic

   stay imposed in this case by section 362(a) of the Bankruptcy Code as to the Creditor’s

   interests in 147 Chalford Lane, Yonkers, New York 10583 (the “Property”) to allow the

   Creditor’s enforcement of its rights in, and remedies in and to, the Property; and due and

   proper notice of the Motion having been made on all necessary parties; and the Court

   having held a hearing on the Motion on May 23, 2018; and there being no opposition to

   the requested relief; and upon all of the proceedings had before the Court; and after due

   deliberation and sufficient cause appearing, it is hereby

                     ORDERED that the Motion is granted as provided herein; and it is further

                     ORDERED that the automatic stay imposed in this case by section 362(a)

   of the Bankruptcy Code is vacated under section 362(d)(1) and (2) of the Bankruptcy

   Code as to the Creditor’s interests in the Property to allow the Creditor’s enforcement of

   its rights in, and remedies in and to, the Property, including, without limitation, loss

   mitigation, foreclosure and eviction proceedings; and it is further
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                  ORDERED that the Creditor shall promptly report and turn over to the

   chapter 7 trustee any surplus proceeds of the Property.

   Dated: White Plains, New York
          May 31, 2018


                                                        /s/ Robert D. Drain
                                                        United States Bankruptcy Judge




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